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                                IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF VIRGINIA
                                          Harrisonburg Division


      CONSUMER FINANCIAL PROTECTION
      BUREAU, et al.,

           Plaintiffs,

      v.                                                     Case No.: 5:21-cv-00016-EKD-JCH

      NEXUS SERVICES, INC., LIBRE BY
      NEXUS, INC., MICHEAL DONOVAN,
      RICHARD MOORE, and EVAN AJIN,

           Defendants.


                            MEMORANDUM IN SUPPORT OF
               PLAINTIFFS’ MOTION FOR AN ORDER TO SHOW CAUSE WHY
           DEFENDANTS SHOULD NOT BE HELD IN CIVIL CONTEMPT, TO IMPOSE
           DISCOVERY SANCTIONS, AND FOR CERTIFICATION UNDER 28 U.S.C. §
                                   636(e)(6)(B)(iii)

              To redress Defendants’ failures to comply with their discovery obligations, on June 8,

  2022, the Court issued an Order compelling Defendants to produce documents and other

  information (the Discovery Order). 1 In the Discovery Order, the Court warned Defendants that

  their “failure to obey this Order may require the Court to award Plaintiffs their reasonable

  expenses . . . and will provide a basis for the Court to impose appropriate sanctions.” 2

  Defendants ignored that warning and violated the Discovery Order. Defendants should be held in

  civil contempt of court, and ordered to pay daily fines, as a sanction for the violation of the

  Discovery Order. 3




  1
    See ECF No. 129.
  2
    Id. ¶ 11.
  3
    Fed. R. Civ. P. 37(b)(2)(A)(vii).
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          Plaintiffs therefore request that, under 28 U.S.C. § 636(e)(6)(B)(iii), the presiding

  magistrate judge issue an order (1) finding that Defendants’ failure to obey the Discovery Order

  should be treated as civil contempt of court; (2) requiring Defendants to appear for a hearing

  before the Court to show cause why they should not be adjudged in contempt by reason of the

  certified facts; and (3) recommending that Defendants be fined $5,000 per day until they fully

  comply with the Discovery Order. Plaintiffs also request an award of reasonable costs, including

  attorneys’ fees. 4

                                                       FACTS

          The facts supporting Plaintiffs’ motion are set out in Plaintiffs’ Statement Detailing and

  Itemizing Discovery Dispute, 5 the Discovery Order, and the attached Declaration of James E.

  Scott. Briefly summarized, the Discovery Order compelled the Entity Defendants and Individual

  Defendants 6 to produce by certain dates categories of documents and other information

  responsive to discovery requests and critical to Plaintiffs’ ability to prepare their case.

  Defendants have failed to comply with the Order, including as follows.

          Database Files: The Court ordered the Entity Defendants to “export and produce to

  Plaintiffs complete, unredacted electronic versions of all Capsule, Lightspeed, and other database

  files responsive to RFP Nos. 5, 8, 10, 11, 13, 14, 17 and/or 20” by June 29, 2022. 7 Defendants

  failed to produce any database files. 8



  4
    Fed. R. Civ. P. 37(a)(5) and 37(b)(2)(C).
  5
    ECF No. 115.
  6
    As defined in the Discovery Order, the “Entity Defendants” are Nexus Services, Inc. and Libre by Nexus, Inc. And
  the “Individual Defendants” are Micheal Donovan, Richard Moore, and Evan Ajin. ECF No. 129 at 1.
  7
    See Discovery Order ¶ 5. Importantly, Defendants do not contest that Capsule, Lightspeed, and other database files
  are responsive to these RFPs. See e.g. Hr’g Tr. 33:24-25, 34:1-4, 34:21-22, June 6, 2022, ECF No. 131 (Court: “The
  Capsule and Light Speed . . . what I’m hearing from each one of you, is that really the information it’s – it is
  relevant to the claims and defenses in this case . . . I do think that providing an export of these systems to the
  plaintiff, it’s responsive to their request.”).
  8
    See Scott Decl. ¶ 3.

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           Electronically Stored Information: The Court ordered the Entity Defendants to file a

  Notice by June 22, 2022, confirming that they had retained a discovery vendor and providing an

  estimate of the time required for the vendor to run an initial search for responsive ESI. 9 The

  Court instructed Defendants that their proposed timeline “should allow the parties enough time

  to finish discovery on the current case schedule.” 10 Defendants neither retained a vendor nor

  provided a timeline adhering to the Court’s requirements. Instead, Defendants filed a notice 11 in

  which they stated only that they “ha[d] begun the onboarding process” with a vendor and

  estimated that it would take the vendor four to six weeks after onboarding is complete to conduct

  an initial search for ESI. Defendants’ notice did not indicate when the onboarding process would

  be complete and the four-to-six-week period would begin. The current case schedule requires the

  parties to complete depositions by September 1, 2022, and to finish discovery by October 27,

  2022. On their proposed timeline, Defendants may not have started—and certainly will not have

  completed—production of ESI by these dates. 12

           Deposition Transcripts: The Court ordered the Entity Defendants to “identify and

  produce” by June 15, 2022, the recordings, transcripts, and exhibits listed in RFP No. 24 that

  were in Defendants’ possession, custody, or control. 13 In response, Defendants represented to

  Plaintiffs that they had never ordered—and did not have possession, custody, or control of—any




  9
    See Discovery Order ¶¶ 3-4.
  10
     Id.
  11
     ECF No. 133.
  12
     On June 28, Defendants’ counsel confirmed to Plaintiffs’ counsel that the “onboarding process” identified in
  Defendants’ Notice, ECF No. 133, was still ongoing. See Scott Decl. ¶ 10. Given this continuing delay, it is unlikely
  that Defendants will begin their initial review of ESI until mid-August, at the earliest. Plaintiffs will not begin to
  receive production of ESI until some unknown date thereafter. On July 3, Plaintiffs asked Defendants to provide an
  estimate for the dates on which they expected to begin and complete production of ESI. Defendants have not
  provided this information. Scott Decl. ¶ 11.
  13
     Discovery Order ¶ 2; see also id. ¶ 7 (requiring Defendants to conduct a “reasonable search” for documents
  responsive to RFP No. 24).

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  of the recordings, transcripts, or exhibits. 14 This representation was false. In other litigation

  pending before this Court and in the Northern District of California, Defendants’ counsel have

  filed partial copies of several transcripts listed in RFP No. 24. 15 Because Defendants failed to

  produce responsive documents, Plaintiffs have attempted to acquire them from the relevant court

  reporters. 16 But, to date, Defendants have refused to provide the consent requested by these

  companies to release the transcripts, causing further delay. 17

           Documents Concerning the Individual Defendants’ Financial Condition: The Court

  ordered the Individual Defendants to produce documents by June 29, 2022, concerning their

  financial condition that are responsive to RFP No. 8 and had not previously been produced to

  Plaintiffs. 18 Defendants did not produce any such documents. 19

           Defendants’ contention that Plaintiffs have already “received all of the financial records

  of the . . . individual defendants” 20 is inaccurate. Plaintiffs have received financial records in

  response to subpoenas issued to financial institutions utilized by the Entity Defendants (and

  related entities) 21 and to the Entity Defendants’ corporate accountant. 22 These documents are




  14
     Scott Decl. ¶ 4.
  15
     See RLI Ins. Co. v. Nexus Services, Inc., 5:18-cv-00066 (W.D. Va. Aug. 21, 2020), ECF No. 496 (“Defendants
  Notice of Filing Redacted Exhibits”); Vasquez et al. v. Libre by Nexus et al., 4:17-cv-00755 (N.D. Cal. July 9,
  2018), ECF No. 73 (“Reply in Support of Motion to Compel Arbitration by Defendant Libre by Nexus, Inc.”); see
  also U.S. ex rel. Lutz v. Berkely Heartlab, Inc., 2017 WL 1282012, at * 3 (D. S.C., Apr. 5, 2017) (“For discovery
  purposes, a party is generally considered to have possession and control over documents in the possession of its
  current or formal legal counsel.”). After Plaintiffs notified Defendants of this fact, Defendants produced the David
  See deposition from the Vasquez litigation. See Scott Decl. ¶¶ 5, 6 and 8. Defendants have not produced any other
  transcripts. Id. ¶ 8.
  16
     Scott Decl. ¶ 7.
  17
     Id.
  18
     See Discovery Order ¶ 9.
  19
     Scott Decl. ¶ 12.
  20
     Hr’g Tr. 56:22-24, June 6, 2022, ECF No. 131.
  21
     The Individual Defendants held a limited number of accounts with these institutions in their capacity as principals
  for the Entity Defendants (and related entities). Plaintiffs have no knowledge of where the Individual Defendants
  conduct their private banking.
  22
     Scott Decl. ¶ 13.

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  insufficient to provide a complete financial picture of the Individual Defendants, including their

  personal assets and wealth.

                                                  ARGUMENT

          Defendants should be held in civil contempt and sanctioned for violating the Discovery

  Order. 23 Defendants were warned that violating the Discovery Order would “provide a basis for

  the Court to impose appropriate sanctions” under Rule 37. 24 And contempt is the appropriate

  sanction in light of Defendants’ persistent failure to comply with their discovery obligations. 25

          The Fourth Circuit “has developed a four-part test . . . to use when determining what

  sanctions to impose” under Rule 37. 26

                   The court must determine: (1) whether the non-complying party
                   acted in bad faith, (2) the amount of prejudice that noncompliance
                   caused the adversary, (3) the need for deterrence of the particular
                   sort of non-compliance, and (4) whether less drastic sanctions
                   would . . . [be] effective

  in securing compliance with the court’s order. 27 Here, each factor weighs in favor of contempt as

  a sanction. 28 There is also clearly sufficient evidence to establish the minimum elements of civil

  contempt, specifically: the Discovery Order was a valid decree in Plaintiffs’ favor; Defendants

  had notice of the Order, as they were served through the CM/ECF system; Defendants violated

  the Order; and Plaintiffs were harmed as a result. 29 Defendants’ bad-faith refusal to provide

  discovery has significantly prejudiced Plaintiffs and constitutes exactly the type of flagrantly




  23
     See Fed. R. Civ. P. 37(b)(2)(A)(vii).
  24
     Discovery Order ¶ 11.
  25
     See Nat’l Hockey League v. Met. Hockey Club, Inc., 427 U.S. 639, 641-42 (1976) (court should consider “the full
  record” in determining sanctions for failure to comply with discovery order).
  26
     Belk v. Charlotte-Mecklenburg Bd. Of Educ., 269 F.3d 305, 348 (4th Cir. 2001) (cleaned up).
  27
     Id.
  28
     See Ashcraft v. Conoco, Inc., 218 F.3d 288, 301 (4th Cir. 2000) (setting out minimum requirements for civil
  contempt).
  29
     Id.

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  contumacious behavior that must be severely sanctioned to deter improper challenges to the

  Court’s authority. 30

           A.       Defendants’ violation of the Discovery Order constitutes bad faith.

           Even considered in isolation, Defendants’ willful refusal to comply with the Court’s

  Discovery Order is “bad faith” misconduct that justifies the imposition of a severe discovery

  sanction. 31 But Defendants’ failure to comply with the Order was not an isolated misstep. Rather,

  it was the continuation of a persistent course of conduct aimed at delaying and derailing the

  progression of this case to trial. 32 Defendants’ ongoing refusal to produce database files is

  illustrative of the problem.

           At the outset of this case, the parties negotiated and entered into a protective order to

  govern the disclosure of confidential and private information, including information obtained

  from non-parties such as consumers. 33 Defendants then, for more than ten months, refused to

  produce database files to Plaintiffs on the ground that the files might contain unspecified private

  consumer information. 34 (Defendants’ posturing on this issue in this litigation is in direct

  conflict with the position that they have taken in their interactions with consumers, specifically:

  “Program participants have agreed that they do not have a privacy interest in the information


  30
     See, e.g., First Union Rail Corp. v. Springfield Terminal Ry. Co., 2009 WL 1469632, at *1, 3:08-cv-230 (W.D.
  N.C. May 20, 2009) (holding party in contempt where bad faith failure to comply with court order interfered with
  Plaintiffs’ ability to prepare case for trial).
  31
     See Sines v. Kessler, 2020 WL 7028710 at *14, 3:17-cv-00072 (W.D. Va. Nov. 30, 2020) (Hoppe, M.J.) (“Sines
  I”) (willful disobedience of discovery order constitutes bad faith). While a finding of bad faith, or willful non-
  compliance, demonstrates the need for a severe sanction under Fed. R. Civ. P. 37, see supra, such a finding is not
  necessary to hold a party in contempt. See McLean v. Cent. States, Se. & Sw. Areas Pension Fund, 762 F.2d 1204,
  1210 (4th Cir. 1985) (“Good faith alone does not immunize a party from a civil contempt sanction for non-
  compliance with a court order.”).
  32
     See ECF No. 115 (“Statement Detailing and Itemizing Discovery Dispute”) at 2-4 (detailing Defendants’
  misconduct). See also Young Again Products, Inc. v. Acord, 459 Fed.Appx. 294, 302 (4th Cir. 2011) (finding bad
  faith where “the record reflects a pattern of noncompliance”); First Union Rail Corp., 2009 WL 1469632, at *1
  (holding that “consistent disregard of discovery deadlines . . . [and] disobedience of court orders” demonstrates bad
  faith and justifies holding party in contempt).
  33
     ECF No. 51, see also Hr’g Tr. 29:25-30:9, June 6, 2022, ECF No. 131.
  34
     See ECF No. 115 at 2-4.

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  they provide to Libre.” 35) At the discovery hearing held on June 6, 2022, the Court considered

  this objection, ruled that it was without merit, and ordered Defendants to produce the complete

  database files. 36 Defendants ignored the Discovery Order on this point. Exporting and producing

  the database files would be neither complicated nor burdensome, 37 Defendants simply refuse to

  do it. This is “patently contemptuous” conduct. 38

           B.       Defendants’ ongoing misconduct continues to significantly prejudice Plaintiffs.

           Defendants’ conduct has resulted in substantial prejudice to Plaintiffs. Defendants’ delay

  tactics, disregard for Plaintiffs’ proper discovery demands, and refusal to timely comply with the

  Discovery Order have interfered with the “just, speedy, and inexpensive” resolution of this

  matter. 39 Further, Defendants’ refusal to produce critical documents—particularly the database

  files—has significantly hindered Plaintiffs’ ability to prepare their case for trial. 40 The database

  files contain information that is material to Plaintiffs’ claims, including claims that Defendants

  misled program participants, illegally collected fees, and failed to provide refunds to

  consumers. 41 Defendants’ failure to produce the files is not only depriving Plaintiffs of material

  evidence, it is also hindering Plaintiffs’ ability to identify witnesses. 42 This delay is particularly

  problematic here, as the immigrant consumers who are Defendants’ clients are likely to become

  more difficult to locate and potentially even unavailable as time continues to pass.



  35
     See librebynexus.com/common-questions/ (last visited on July 8, 2022).
  36
     See Hr’g Tr. 35:1-4, June 6, 2022, ECF No. 131 (“It really is just time to . . . turn over these records and these
  programs by allowing . . . them to be exported and produced.”); Discovery Order ¶ 5.
  37
     See Hr’g Tr. 34:13-25, June 6, 2022, ECF No. 131.
  38
     First Union, 2009 WL 1469632 at *3.
  39
     See Sines v. Kessler, 2021 WL 1143291 at *10, 3:17-cv-00072 (W.D. Va., March 24, 2021) (Hoppe, M.J.) (“Sines
  II”).
  40
     See Sines I, 2020 WL 7028710 at *7 (showing of “harm and delay to [Plaintiffs’] ability to timely develop and
  present [their] case” supports sanction of contempt).
  41
     See Hr’g Tr. 43:3-4 (the database files are Defendants’ “living, breathing repository of all interactions with
  program participants”) and 34:19 (database files include records of “consumer payments and refunds”), June 6,
  2022, ECF No. 131.
  42
     See Scott Decl. ¶ 3.

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           C.       Contempt is necessary to deter further misconduct.

           Defendants’ continuous refusal to produce documents in violation of the Discovery

  Order, despite an explicit warning that non-compliance could result in the imposition of

  sanctions, presents an open challenge to this Court’s authority. 43 Parties to litigation cannot

  refuse to provide discovery because “they do not want to”; cannot “pick and choose which

  discovery requests they will [and will not] respond to”; and must not be permitted to “ignore

  court orders directing them to provide . . . discovery” in the final instance. 44 Holding Defendants

  in contempt is an appropriate measure to do “justice in this case” and to deter other litigants who

  “might be tempted to similar conduct.” 45

           D.       Contempt is the appropriate sanction under the circumstances.

           Holding Defendants in contempt and imposing daily fines are also necessary steps to

  secure compliance with the Discovery Order. Defendants’ conduct in this case, and in other

  litigation before the Court, demonstrates that they will comply with orders—particularly

  discovery orders—only when forced to do so. 46

           There is no less severe sanction that would provide an adequate remedy for Defendants’

  misconduct under the circumstances. Of the sanctions available under Rule 37, “dismissing the

  action,” 47 is clearly inapposite; and “staying further proceedings until the order is obeyed,” 48




  43
      First Union, 2009 WL 1469632 at *3; see also Nat’l Hockey League, 427 U.S. at 641 (upholding sanction of
  dismissal where party engaged in “flagrant bad faith” by disregarding order to produce discovery “by a date certain .
  . . in the face of warnings that their failure to provide certain information could result in the imposition of sanctions
  under Fed. R. Civ. P. 37”).
  44
      Sines II, 2021 WL 1143291 at *9 (cleaned up).
  45
      Id.
  46
      See RLI Ins. Co. v. Nexus Services, Inc., 5:18-cv-00066, Order for Nexus and the Entities to Show Cause, Dec. 16,
  2021, ECF No. 761 (W.D. Va.) (discussing Defendants’ pattern of misconduct) (“RLI Order”); see also First Union,
  2009 WL 1469632 at *2 (sanction of contempt justified where record in current and prior litigation indicated that
  “defendants would . . . simply ignore [additional] court orders compelling disclosure”).
  47
      Fed R. Civ. P. 37(b)(2)(A)(v).
  48
      Fed. R. Civ. P. 37(b)(2)(A)(iv).

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  would “give defendants precisely what they want, which is further delay.” 49 The remaining

  options under Rule 37 include (1) contempt; 50 (2) evidentiary sanctions; 51 and (3) entry of a

  default judgment. 52 This Court has generally considered civil contempt to be the more flexible

  and less severe of these sanctions and has preferred to progress from contempt to evidentiary

  sanctions to default or dismissal. 53

           E.       Daily monetary fines are an appropriate sanction until Defendants comply with
                    the Discovery Order.

           This Court’s civil contempt power includes the authority to impose both fines and

  imprisonment where necessary to secure compliance with an order. 54 Here, the imposition of

  daily fines of $5,000.00 against each Defendant is likely sufficient to “get the[ir] attention” and

  secure compliance with the Discovery Order. 55 Defendants operate a multi-million-dollar

  business—anything less than a steep daily fine “would not even be a blip on their radar.” 56

           The Individual Defendants should be fined for their failure to provide discovery in their

  individual capacities and because, as corporate officers, they are responsible for the Entity

  Defendants’ violations of the Discovery Order. An order directed to a corporate defendant “is in

  effect a command to those who are officially responsible for the conduct of its affairs. If they . . .




  49
     First Union, 2009 WL 1469632 at *3.
  50
     Fed. R. Civ. P. 37(b)(2)(A)(vii).
  51
     Fed. R. Civ. P. 37(b)(2)(A)(i)-(iii).
  52
     Fed. R. Civ. P. 37(b)(2)(A)(vi).
  53
     See, e.g., Sines II, 2021 WL 1143291 at *11 (granting motion for evidentiary sanctions where party had violated
  discovery order and had been held in civil contempt); see also Wilson v. Volkswagen of Am., Inc., 561 F.2d 494,
  503-04 (4th Cir. 1977) (default and dismissal are the “most severe in the spectrum of sanctions provided by statute
  or rule”).
  54
     18 U.S.C. § 401; U.S. ex rel. Kanawah Coal Operators Ass’n v. Miller, 540 F.2d 1213, 1214 at n. 1 (4th Cir.
  1976) (“A fine and imprisonment for an indefinite term is permissible . . . for civil contempt.”).
  55
     First Union, 2009 WL 1469632 at * 4.
  56
     Id.

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   prevent compliance or fail to take appropriate action within their power [to secure compliance] . .

   . they, no less than the corporation . . . may be punished for contempt.” 57

           F.       Plaintiffs request that Magistrate Judge Hoppe certify facts demonstrating
                    Defendants’ contempt and recommend the imposition of daily fines.

           Where, as here, a magistrate judge presiding over discovery under 28 U.S.C. § 636(b), 58

   is presented with conduct that constitutes civil contempt, “the magistrate shall forthwith certify

   facts to a judge of the district court” demonstrating the contemptuous conduct in question. 59 The

   magistrate may also recommend “that certain sanctions be imposed by the district court upon a

   finding of contempt.” 60 The district court shall then conduct a summary contempt hearing using

   the certificate of facts as a “statement of prima facie case” showing contempt. 61

                                                  CONCLUSION

           For the foregoing reasons, Plaintiffs respectfully request that this Court grant their motion

   and, in so doing, require Defendants’ compliance with this Court’s Discovery Order.

   Respectfully submitted,

                                          Attorneys for the Consumer Financial Protection Bureau

                                          Eric Halperin
                                              Enforcement Director
                                          Alusheyi J. Wheeler
                                              Deputy Enforcement Director
                                          Kara K. Miller
                                              Assistant Litigation Deputy

                                          Leanne E. Hartmann
                                          California Bar Number: 264787
                                          Hai Binh T. Nguyen
                                          California Bar Number: 313503

   57
      Wilson v. U.S., 221 U.S. 361, 376 (1911); Colonial Williamsburg Found. v. Kittinger Co., 38 F.3d 133, 136-37
   (4th Cir. 1994) (accord).
   58
      See ECF No. 66 (referring discovery matters to Hoppe, M.J.).
   59
      Proctor v. State Gov’t of N.C., 830 F.2d 514, 521 (4th Cir. 1987) (cleaned up).
   60
      RLI Order, 5:18-cv-00066 at *41, ECF 761 (cleaned up).
   61
      Proctor, 830 F.2d at 521.

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                             Donald R. Gordon
                             District of Columbia Bar Number: 482384
                             Consumer Financial Protection Bureau
                             1700 G Street, NW
                             Washington, DC 20552
                             Telephone (Hartmann): (415) 844-9787
                             Telephone (Nguyen): (202) 435-7251
                             Telephone (Gordon): (212) 328-7011
                             Email: leanne.hartmann@cfpb.gov
                             Email: haibinh.nguyen@cfpb.gov
                             Email: donald.gordon@cfpb.gov


                             Attorneys for the Commonwealth of Virginia, ex rel. Jason S.
                                 Miyares, Attorney General

                             Jason S. Miyares
                                 Attorney General
                             Charles H. Slemp, III
                                 Chief Deputy Attorney General
                             Steven G. Popps
                                 Deputy Attorney General
                             Richard S. Schweiker, Jr.
                                 Chief and Senior Assistant Attorney General

                             James E. Scott
                             Assistant Attorney General
                             Virginia Bar Number: 88882
                             David B. Irvin
                             Virginia Bar Number: 23927
                             Unit Manager and Senior Assistant Attorney General
                             Office of the Attorney General
                             Consumer Protection Section
                             202 North Ninth Street
                             Richmond, VA 23219
                             Telephone (Irvin): (804) 786-4047
                             Telephone (Scott): (804) 225-4778
                             Fax: (804) 786-0122
                             Email: dirvin@oag.state.va.us
                             Email: jscott@oag.state.va.us


                             Attorneys for the Commonwealth of Massachusetts

                             Maura Healy
                               Attorney General

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                             Jon Burke
                             Massachusetts Bar Number: 673472
                             Assistant Attorney General
                             Office of the Attorney General
                             10 Mechanic Street
                             Worcester, MA 01608
                             Telephone: (774) 214-4416
                             Fax: (508) 795-1991
                             Email: Jonathan.burke@mass.gov


                             Attorneys for the People of the State of New York

                             LETITIA JAMES
                               Attorney General

                             Jane Azia (New York Bar Number: 1539600)
                                Bureau Chief for the Bureau of Consumer Frauds and
                                Protection
                             Laura Levine (New York Bar Number: 2337368)
                                Deputy Bureau Chief for the Bureau of Consumer Frauds
                                and Protection

                             Joseph P. Mueller
                             New York Bar Number: 5079389
                             Assistant Attorney General
                             Office of the Attorney General
                             28 Liberty Street
                             New York, NY 10005
                             Telephone: (212) 416-8321
                             Fax: (212) 416-6003
                             Email: joseph.mueller@ag.ny.gov




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                                    CERTIFICATE OF SERVICE

          I hereby certify that on July 19, 2022, I will electronically file the foregoing with the

   Clerk of Court using the CM/ECF system, which will then send a notification of such filing

   (NEF) to all counsel of record for the parties.

                                                 /s/ James E. Scott
                                                     James E. Scott




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